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                            UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION

  LOUISE LASTER,

                         Plaintiff,

  v.                                                               Case No: 6:21-cv-554-GAP-LRH

  LIGHT OF LIFE, INC.,

                         Defendant.



                                           ORDER TO STRIKE
                                      (And Direction to Clerk of Court)

         On March 26, 2021, Plaintiff Louise Laster, on behalf of herself and others similarly situated,

  instituted this action against Defendant Light of Life, Inc., via a complaint alleging violations of the

  Fair Labor Standards Act. See Doc. Nos. 1, 3. On April 28, 2021, a person named Gisela Ramos

  filed a pro se motion to dismiss the complaint, on behalf of Light of Life, Inc. Doc. No. 8. The

  motion has been referred to the undersigned.

         Upon review, Light of Life, Inc. may not appear and be heard in this matter except through

  counsel of record admitted to practice before this Court. Local Rule 2.02(b)(2). It does not appear

  that Ms. Ramos is an attorney admitted to practice in this Court, and thus, she may not file

  documents with the Court on behalf of Light of Life, Inc. Therefore, the motion to dismiss (Doc.

  No. 8) is ORDERED STRICKEN.

         It is further ORDERED that Light of Life, Inc. shall have up to and including June 1, 2021

  to appear by counsel and respond to Plaintiff’s complaint. If Light of Life, Inc. fails to appear

  through counsel and respond to Plaintiff’s complaint by that date, a default may be entered against

  Light of Life, Inc. pursuant to Federal Rule of Civil Procedure 55(a), without further notice.
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         The Clerk of Court is DIRECTED to mail a copy of this Order to Ms. Ramos at the

  following address:

                                          Gisela Ramos
                                    10967 Lake Underhill Road
                                            Suite 112
                                      Orlando, Florida 32825

         DONE and ORDERED in Orlando, Florida on April 30, 2021.




  Copies furnished to:

  Counsel of Record
  Unrepresented Parties




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